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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

PETER STROJNIK,

               Plaintiff,                                   No. 1:20-cv-00843-WJ-GBW
                                                            No. 1:20-cv-00875- WJ-GBW
v.                                                          No. 1:20-cv-00938- WJ-GBW
                                                            No. 1:20-cv-00940- WJ-GBW
ALBUQUERQUE BOCA HOTEL, LP                                  No. 1:20-cv-00998- WJ-GBW
D/B/A CROWNE PLAZA                                          No. 1:20-cv-01003-WJ-GBW
ALBUQUERQUE,                                                No. 1:20-cv-01034-WJ-GBW
                                                            Consolidated
               Defendant.

     MEMORANDUM OPINION AND ORDER DENYING MOTION TO REMAND

       THIS MATTER comes before the Court on Plaintiff’s Motion to Remand the Brand

Deceit Claim in Count 2 to the 1st Judicial District Pursuant to 28 U.S.C. 1441(c), Doc. 13, filed

October 13, 2020 (“Motion to Remand”), in Strojnik v. Ashford Posada, L.P., No. 1:20-cv-00940-

WJ-GBW.

       Plaintiff filed his Motion to Remand in Strojnik v. Ashford Posada, L.P., No. 1:20-cv-

00940- WJ-GBW, after the Court consolidated Strojnik v. Ashford Posada, L.P. with this lead case

and ordered that all documents be filed only in this lead case. See Doc. 30, filed October 1, 2020.

Plaintiff did not file his Motion to Remand in this lead case. Accordingly, the Court denies

Plaintiff’s Motion to Remand for failure to comply with the Court’s Order that all documents be

filed only in this lead case (1:20 -cv-00843-WJ-GBW).

       IT IS ORDERED that:

       (i)     Plaintiff’s Motion to Remand the Brand Deceit Claim in Count 2 to the 1st Judicial

               District Pursuant to 28 U.S.C. 1441(c), Doc. 13, filed October 13, 2020, in Strojnik

               v. Ashford Posada, L.P., No. 1:20-cv-00940- WJ-GBW, is DENIED.
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(ii)   The Clerk shall also file this Order in Strojnik v. Ashford Posada, L.P., No. 1:20-

       cv-00940- WJ-GBW, and terminate Plaintiff’s Motion to Remand.



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                                     WILLIAM P. JOHNSON
                                     CHIEF UNITED STATES DISTRICT JUDGE




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